Case 1:20-cv-08042-PKC Document 413

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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LINDA FAIRSTEIN,
Plaintiff,
-against-
NETFLIX, INC., AVA DUVERNAY and
ATTICA LOCKE,
Defendants.
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CASTEL, U.S.D.J.

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ORDER

The request to “supplement” the June 17, 2022 expert report of Mr. Bania is

DENIED. (ECF 407.) Plaintiff has not come forward with a proposed schedule for the service

of a supplemental expert report, a further deposition of Mr. Bania, a responsive report by Dr.

Kaplan, a further deposition of Dr. Kaplan and briefing on a new round of in limine motions, all

in a time frame consistent with the commencement of trial on June 10, 2024.

The Court is unable to discern from the last paragraph of the April 18, 2024 letter

whether the proposed expert testimony would amount to new opinions not previously disclosed

in a report and, thus, is unable to rule on the request.

SO ORDERED.

Dated: New York, New York
April 30, 2024

Zi eves Lae

P. Kevin Castel
United States District Judge

